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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 vs.

 HENRY DAVID BROOKS,

 Defendant.                                               No. 12-cr-30242-DRH-10


                    ORDER FOR PRESENTENCE PROCEDURE

 HERNDON, Chief Judge:

       This matter comes before the Court for case management. Strict compliance

 with Federal Rule of Criminal Procedure 32 and Southern District of Illinois Local

 Rule Cr 32.1 shall be enforced. A party wishing to object to a presentence report

 must have such objections filed with the Clerk of the Court no later than 14 days

 after receiving the presentence report. For counsel, receiving is interpreted to mean

 when the presentence report is docketed in the court file via CM/ECF. Responses to

 objections must be filed no later than 7 days after receipt of said objections. Parties,

 however, are encouraged to consult with the probation officer who authored the

 presentence report prior to filing objections in an effort to obtain agreement to revise

 the report without necessity of formal objections. Such informal discussions are not

 sufficient cause to exceed the deadlines without leave of Court for an extension of

 time, which likely will impact the sentencing date. Any unresolved objections which



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 are subject to a formal objection shall cause the probation officer to prepare an

 addendum addressing each objection.

       Any party wishing to file a sentencing memorandum relative to the issues to

 be considered at sentencing, shall file such pleading no later than 7 days before

 sentencing.   Likewise, should either party intend to present testimony at the

 sentencing hearing, notice of the proposed witnesses, the subject of said testimony,

 and projected length of the testimony shall be filed with the Court no later than 7

 days prior to the sentencing hearing, with service on opposing counsel. Generally,

 the Court schedules sentencing hearings for an hour and this information will allow

 the Court the opportunity to change its schedule if necessary.

       If a party is unable to comply with this schedule, a continuance of the

 sentencing date should be sought.

       IT IS SO ORDERED.

       Signed this 12th day of December, 2012.                           Digitally signed by
                                                                         David R. Herndon
                                                                         Date: 2012.12.12
                                                                         09:44:09 -06'00'
                                                    Chief Judge
                                                    United States District Court




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